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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

LAURIE-JO STRATY; TEXAS ALLIANCE
FOR RETIRED AMERICANS; and
BIGTENT CREATIVE,

        Plaintiffs,

v.                                                      CIVIL ACTION NO. 1:20-cv-01015-RP

GREGORY ABBOTT, in his official capacity as
Governor of the State of Texas; and RUTH
HUGHS, in her official capacity as Texas
Secretary of State,

        Defendants.


                        SECRETARY HUGHS’S NOTICE OF APPEAL

        Pursuant to Federal Rules of Appellate Procedure 3(a)(1) and 4(a)(1)(A), Ruth Hughs, in her

official capacity as the Texas Secretary of State, gives this notice of appeal to the United States Court

of Appeals for the Fifth Circuit from the Order entered in this action on October 9, 2020. [ECF No.

38].
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Date: October 9, 2020                             Respectfully Submitted.

KEN PAXTON                                        /s/ Patrick K. Sweeten
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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on October 9, 2020, and that all counsel of record were served by CM/ECF.

                                                 /s/ Patrick K. Sweeten______
                                                 PATRICK K. SWEETEN
                                                 Associate Deputy for Special Litigation
